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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     USA,                                               Case No.21-cr-00429-YGR-1
                                                        Plaintiff,
                                   8
                                                                                            ORDER FOR JURY BREAKFAST ON
                                                   v.                                       DAY 1 AND MEALS DURING
                                   9
                                                                                            CLOSING ARGUMENTS AND
                                  10     RAY J. GARCIA,                                     DELIBERATIONS
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           IT IS HEREBY ORDERED that, pursuant to the Guide to Judiciary Policy, the Clerk’s

                                  14   Office shall furnish breakfast for the first day of trial and lunch for the members of the jury during

                                  15   closing arguments and for each day the jury is in deliberations.

                                  16           IT IS SO ORDERED.

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                                  18   Dated: November 15, 2022

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                                                                                        YVONNE GONZALEZ ROGERS
                                  20                                                    United States District Judge
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